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VIA CM/ECF
May 18, 2012

The Honorable Leonard P. Stark

U.S. District Court for the District of Delaware
844 N. King Street

Wilmington, DE 19801

RE: United Access Technologies, LLC v. Frontier Communications Corp.,
C.A. No. 1:11-cv-00341-LPS

Dear Judge Stark:

Pursuant to the Court's Order of May 8, 2012, attached is the parties' proposed Protective Order
for Your Honor's consideration. Where the parties have been unable to reach agreement, the
proposed order contains the parties' competing views.

Counsel are available at the Court's convenience should Your Honor have any questions.

Very truly yours,

DP J /
Kehed C: bbe)
Richard C. Weinblatt (#5080)
of Stamoulis & Weinblatt LLC

ce: All Registered Counsel (via CM/ECF)

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